                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                     AT GREENEVILLE

        ERIC SINKS,                                     )
                                 Petitioner,            )
                                                        )      No. 2:19-cv-63
                         v.                             )      Judge Greer
                                                        )
        UNITED STATES OF AMERICA,                       )
                        Respondent.                     )

                        RESPONSE IN OPPOSITION TO PETITIONER’S
                        MOTION FILED PURSUANT TO 28 U.S.C. § 2255

        The United States of America hereby responds in opposition to petitioner’s motion to

 vacate, set aside, or correct sentence pursuant to 28 U.S.C. § 2255. Petitioner has not established

 any basis upon which relief may be granted, so his motion should be denied.

                          FACTUAL AND PROCEDURAL HISTORY

        Between January 2015 and June 2016, petitioner conspired with others to distribute at

 least 50 grams of methamphetamine, in violation of 21 U.S.C. §§ 846 and 841(a)(1), (b)(1)(A).

 (See generally Doc. 74, Plea Agreement. 1) In 2017, he pleaded guilty to that offense, admitting

 he was personally responsible for distributing at least 150 grams of actual methamphetamine.

 (Id. at 1, 4.) As part of his plea agreement, petitioner also agreed not to “file any motions or

 pleadings pursuant to 28 U.S.C. § 2255 or otherwise collaterally attack [his] conviction(s)

 or sentence, with two exceptions: [he] retain[ed] the right to file a § 2255 motion as to (i)

 prosecutorial misconduct and (ii) ineffective assistance of counsel.” (Id. at 7.)

        The probation office prepared a presentence report, calculating petitioner’s base offense

 level as 32, based on the stipulated drug quantity in his plea agreement, and applying a two-level



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            Unless otherwise noted, citations refer to the underlying criminal case, No. 2:16-cr-104.

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 enhancement for possessing a firearm. (Doc. 125, (Sealed) Presentence Report.) Petitioner’s

 counsel objected to the application of the firearms enhancement and the absence of an

 acceptance-of-responsibility reduction. (See Doc. 202, Hr’g Tr. at 13-14; Doc. 222, Hr’g Tr.

 at 87.) Petitioner then personally wrote to the Court, requesting new counsel and alleging a

 breakdown in communication. (Doc. 173, Letter; see also Doc. 222, Hr’g Tr. at 85.) When the

 Court conducted a hearing on that motion, petitioner said he needed new counsel because he was

 “planning on fighting this gun charge” (and “not planning on withdrawing [his] plea”); the Court

 clarified that petitioner was referencing the firearms enhancement. (Doc. 202, Hr’g Tr. at 4-6;

 see also Doc. 222, Hr’g Tr. at 86-89.) After hearing from petitioner and his counsel, the Court

 found “absolutely nothing ineffective” about counsel’s representation of petitioner. (Doc. 202,

 Hr’g Tr. at 14; accord id. at 18 (“I don’t see anything that [counsel has] done wrong here”).)

 The Court emphasized that petitioner “seem[ed] to think that another lawyer [could] do things

 differently and achieve a different result,” which was “not likely,” but that petitioner had put

 counsel “in a very difficult position as far as continuing to represent him.” (Id. at 16.) In the

 end, the Court found that the relationship between petitioner and counsel had broken down—

 because of petitioner’s conduct, not counsel’s conduct—and thus granted petitioner’s request

 for new counsel. (Id.)

        Petitioner then sought to withdraw his guilty plea, asserting that, notwithstanding his

 earlier sworn admissions, he was only responsible for a drug quantity of less than 50 grams.

 (Doc. 222, Hr’g Tr. at 22, 26, 105.) Petitioner claimed he had signed an inaccurate plea

 agreement and then lied under oath when pleading guilty because counsel allegedly told him

 that it was a “take-it-or-leave-it” plea agreement, that if he pleaded guilty he would be sentenced

 to 87 months’ imprisonment, but would otherwise spend “life in prison.” (Id. at 14-18, 62-63,




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 78-84, 90-92, 95-98, 107.) When questioned, petitioner admitted that the factual basis in the plea

 agreement had been modified in other respects at his request, that the plea agreement never

 promised an 87-month sentence, and that, after being advised by the Court during the plea

 colloquy that he could receive any sentence up to life imprisonment, he had said he wanted to

 plead guilty because he was, in fact, guilty. (Id. at 11-14, 21, 23.) The Court also reminded

 petitioner that, during his previous hearing, he had denied any desire to withdraw from the guilty

 plea. (Id. at 87 (referencing Doc. 202, Hr’g Tr. at 4-6).) Before the Court ruled on petitioner’s

 motion to withdraw his guilty plea, petitioner withdrew the motion. (Doc. 223, Motion.)

        The Court found that petitioner’s drug quantity yielded a base offense level of 32, which

 was enhanced by two levels for obstructing justice. (Doc. 125, (Sealed) Presentence Report at

 ¶ 22; Doc. 228, (Sealed) Statement of Reasons at 1.) Given petitioner’s criminal history category

 of IV, the resulting Guidelines range was 210 to 262 months’ imprisonment. (Doc. 228, (Sealed)

 Statement of Reasons at 1.) The Court sentenced petitioner to 190 months’ imprisonment, below

 the applicable Guidelines range. (Doc. 227, Judgment; Doc. 228, (Sealed), Statement of

 Reasons.) Petitioner did not appeal.

        Instead, petitioner filed a timely § 2255 motion. (Doc. 250, § 2255 Motion; Doc. 251,

 Memorandum in Support.) The United States now responds, as ordered by the Court. (Case No.

 2:19-cv-63, Doc. 4, Order.)

                                   STANDARD OF REVIEW

        The relief authorized by 28 U.S.C. § 2255 “does not encompass all claimed errors in

 conviction and sentencing.” United States v. Addonizio, 442 U.S. 178, 185 (1979). Rather, to

 obtain relief, a petitioner must establish (1) an error of constitutional magnitude; (2) a sentence

 outside the statutory limits; or (3) an error of fact or law so fundamental as to render the entire




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 proceedings invalid. Moss v. United States, 323 F.3d 445, 454 (6th Cir. 2003). He “must clear a

 significantly higher hurdle than would exist on direct appeal” and show a “fundamental defect in

 the proceedings which necessarily results in a complete miscarriage of justice or an egregious

 error violative of due process.” Fair v. United States, 157 F.3d 427, 430 (6th Cir. 1998).

        Moreover, a petitioner alleging ineffective assistance of counsel must satisfy the two-part

 test set forth in Strickland v. Washington, 466 U.S. 668, 687 (1987). First, he must establish, by

 identifying specific acts or omissions, that counsel’s performance was deficient and that counsel

 did not provide “reasonably effective assistance,” id., as measured by “prevailing professional

 norms.” Rompilla v. Beard, 545 U.S. 374, 380 (2005). Counsel is presumed to have provided

 effective assistance, and petitioner bears the burden of showing otherwise. Mason v. Mitchell,

 320 F.3d 604, 616-17 (6th Cir. 2003); see also Strickland, 466 U.S. at 689 (a reviewing court

 “must indulge a strong presumption that counsel’s conduct falls within the wide range of

 reasonable professional assistance”). Second, petitioner must demonstrate “a reasonable

 probability that, but for [counsel’s acts or omissions], the result of the proceedings would have

 been different.” Strickland, 466 U.S. at 694. “An error by counsel, even if professionally

 unreasonable, does not warrant setting aside the judgment of a criminal proceeding if the error

 had no effect on the judgment.” Id. at 691; see also Smith v. Robbins, 528 U.S. 259, 285-86

 (2000). Because a petitioner “must satisfy both prongs [of Strickland to obtain relief], the

 inability to prove either one of the prongs—regardless of which one—relieves the reviewing

 court of any duty to consider the other.” Nichols v. United States, 563 F.3d 240, 249 (6th Cir.

 2009) (en banc) (emphasis in original); accord Strickland, 466 U.S. at 697 (“If it is easier to

 dispose of an ineffectiveness claim on the ground of lack of sufficient prejudice, which we

 expect will often be so, that course should be followed.”).




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                                           DISCUSSION

        Petitioner’s § 2255 motion alleges that counsel was constitutionally ineffective in several

 respects—specifically, for not adequately communicating the risks and advantages of pleadings

 guilty as opposed to proceeding to trial, for not investigating further, and for not negotiating a

 more favorable plea agreement. (Doc. 250, § 2255 Motion at 4.) His supporting memorandum

 identifies further examples of purported misconduct, claiming that plea counsel “did nothing but

 push [petitioner] to plead guilty” and that sentencing counsel failed to advise him “that he could

 appeal his case.” (Doc. 251, Memorandum in Support at 15, 31.) But petitioner has not satisfied

 Strickland’s two-part test with regard to any of his claims.

 1.     Petitioner has not established any ineffectiveness by counsel affecting his plea.

        Petitioner claims that counsel did not properly advise him about whether to plead guilty

 or proceed to trial, but instead pressured him into pleading guilty by investigating too little,

 misrepresenting petitioner’s likely sentence, and failing to secure a more favorable plea

 agreement. Petitioner suggests that, had counsel investigated further, counsel would have

 concluded that petitioner never had more than 50 grams of methamphetamine and may have only

 had a “buyer/seller arrangement” with Bailey. (Doc. 251, Memorandum in Support at 21.) Yet

 petitioner’s recitation of the facts conveniently ignores the text messages from his own phone

 establishing his role in distributing sizable quantities of methamphetamine. And petitioner has

 not indicated whether he ever told counsel of the matters he now claims counsel should have

 investigated. “[T]he duty to investigate does not force defense lawyers to scour the globe on the

 off chance that something will turn up,” Rompilla v. Beard, 545 U.S. 374, 382-83 (2005), and

 “an attorney does not provide deficient counsel by making investigative decisions based, quite

 properly, on information supplied by the defendant.” Cope v. United States, 385 F. App’x 531,

 533-34 (6th Cir. 2010). After all, petitioner had superior knowledge about his own conduct.

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        During the plea colloquy, petitioner stated under oath that he had adequate time to

 discuss the charges and the plea agreement with counsel, that he believed counsel was aware of

 all the relevant facts, and that he was satisfied with counsel’s representation. (Doc. 221, Plea Tr.

 at 5, 7.) When petitioner disputed part of the factual basis, the United States modified it as

 requested by petitioner, and petitioner thereafter agreed that the facts were “true” and “correct.”

 (Id. at 15-17.) Petitioner is bound by his sworn statements during a plea colloquy, e.g., Baker v.

 United States, 781 F.2d 85, 90 (6th Cir. 1986), and his plea “serves as an admission that he is not

 innocent.” United States v. Rennick, 219 F. App’x 486, 489 (6th Cir. 2007) (quotation omitted).

        Petitioner claims that counsel said he would likely “spend the rest of [his] life in prison”

 if convicted at trial (Doc. 251, Memorandum in Support at 16), but petitioner ignores the fact

 that a defendant convicted at trial does ordinarily receive a longer sentence than a defendant

 who, as here, pleads guilty under a plea agreement that dismisses one or more charges. As this

 Court previously recognized,

                Mr. Fairchild would have been inadequate as a lawyer, as would any
                other lawyer, if they had not advised you that the deal offered by the
                government was likely a good deal because you were likely to be
                convicted at trial because if you went to trial and were convicted,
                your guideline range would be so high that if the judge sentenced
                within that range, it would be a life term of imprisonment.

 (Doc. 222, Hr’g Tr. at 129.) Counsel, too, confirmed that he provided advice to petitioner but

 had “not forced him to sign a plea.” (Doc. 202, Hr’g Tr. at 10.) Rather, petitioner himself

 “chose that route.” (Id.) “The decision to plead guilty – first, last, and always – rests with the

 defendant,” Smith v. United States, 348 F.3d 545, 552 (6th Cir. 2003), and this Court’s thorough

 plea colloquy ensured that petitioner was aware of the rights he was waiving by pleading guilty

 and that he was doing so because he was, in fact, guilty. (E.g., Doc. 221, Plea Tr. at 18.)




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        As for petitioner’s assertion that counsel should have secured a more favorable plea

 agreement that capped his sentencing exposure or guaranteed a particular sentence under Rule

 11(c)(1)(C), the law is clear that a criminal defendant has “no constitutional right to plea

 bargain.” Weatherford v. Bursey, 429 U.S. 545, 561 (1977). The United States is not required

 to acquiesce to a defendant’s request for a particular sentence, and neither petitioner nor his

 attorney could have compelled the United States to have accepted an agreement that petitioner

 would have deemed more favorable. On that basis alone, petitioner cannot prove any

 ineffectiveness by counsel for not seeking a more favorable plea agreement.

        Finally, to the extent that petitioner complains that counsel allegedly misrepresented his

 likely sentence (e.g., Doc. 251, Memorandum in Support at 25), the record is clear that petitioner

 acknowledged, when pleading guilty, that he had not been promised a particular sentence and

 that, knowing the statutorily authorized range of applicable penalties, he nonetheless wanted to

 plead guilty because he was, in fact, guilty. (Doc. 221, Plea Tr. at 10-11, 18-20.)

 2.     Petitioner has not established any ineffectiveness by counsel with regard to his alleged
        right to appeal.

        Petitioner asserts that counsel “did not say anything to [him] about a direct appeal,” and

 that, had counsel told him that “he could appeal his case,” petitioner “could have” asked him to

 file a notice of appeal on his behalf. (Doc. 251, Memorandum in Support at 31.) Yet petitioner

 had waived his right to appeal, except under limited circumstances not present here, so counsel

 had no obligation to specifically advise petitioner about a nonexistent right to appeal.

        The Supreme Court has held that “counsel has a constitutionally-imposed duty to consult

 with the defendant about an appeal when there is reason to think either (1) that a rational

 defendant would want to appeal (e.g., because there are non-frivolous grounds for appeal), or

 (2) that this particular defendant reasonably demonstrated to counsel that he was interested in


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 appealing.” Roe v. Flores-Ortega, 528 U.S. 470, 480 (2000). Because petitioner’s conviction

 stemmed from his own admission of guilt during the plea colloquy, and because petitioner’s

 sentence was below the Guidelines range calculated by the court, counsel would have had no

 basis to even suspect that petitioner would have wanted to appeal, unless petitioner had

 specifically told counsel to file an appeal on his behalf.

        It is true that “a lawyer who disregards specific instructions from a defendant to file a

 notice of appeal acts in a manner that is professionally unreasonable,” Regalado v. United States,

 334 F.3d 520, 524-25 (6th Cir. 2003), and that, where counsel fails to file an appeal after being

 expressly instructed to do so, a defendant is ordinarily entitled to a delayed direct appeal,

 regardless of whether such an appeal would be meritorious, Flores-Ortega, 528 U.S. at 477. But

 the Sixth Amendment right to counsel is “only implicated when a defendant actually requests an

 appeal, and . . . counsel disregards the request.” Ludwig v. United States, 162 F.3d 456, 459 (6th

 Cir. 1998); accord Regalado, 334 F.3d at 525 (reiterating that a defendant must show that he

 “specifically instruct[ed]” counsel to file an appeal). Here, petitioner’s motion makes clear that

 he never instructed counsel to file a notice of appeal on his behalf. Petitioner has thus failed to

 establish any ineffectiveness by counsel.

                                          CONCLUSION

        For the foregoing reasons, petitioner’s § 2255 motion should be denied.

                                                        Respectfully submitted,

                                                        J. Douglas Overbey
                                                        United States Attorney

                                                By:      s/ J. Christian Lampe
                                                        J. Christian Lampe
                                                        Assistant United States Attorney




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                                 CERTIFICATE OF SERVICE

        I certify that on May 24, 2019, this response was filed electronically and a true copy was

 sent to petitioner by regular United States mail, postage prepaid, addressed as follows:

                Eric Sinks
                Reg. No. 51794-074
                F.C.I. Manchester
                P.O. Box 4000
                Manchester, KY 40962


                                                       s/ J. Christian Lampe
                                                      J. Christian Lampe
                                                      Assistant United States Attorney




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